
The Supreme Court affirmed the judgment of the Common Pleas on March 5th, 1883, in the following opinion :
Per Curiam.
This record discloses no error of which the plaintiff has any cause to complain. The declarations of an agent made two-days after the unfortunate accident occurred, were not admit - sible to charge his principal with negligence; Huntingdon ar.d Broad Top Railroad Co. vs. Decker, 82 Pa., 119. Upon a careful examination of the whole evidence we cannot find any sufficient to submit to the jury, showing negligence on the-part of the defendant. As, therefore, the case should not have-been sent to the jury, the plaintiff is not injured by answers, to the points, nor by the charge.
Judgment affirmed.
